Case 1:20-cv-14555-NLH-MJS Document 23 Filed 09/20/21 Page 1 of 1 PageID: 136



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  ANGELINA PORTER                       Civil Action No. 20-14555(NLH)(MJS)

  Plaintiff,

  v.
                                        60 DAY ORDER ADMINISTRATIVELY
  EXPRESS SCRIPTS INC. et al            TERMINATING ACTION

  Defendant.



       It having been reported to the Court that the above-captioned
action has been settled,
       IT IS on this      20th      day of    September , 2021,
       ORDERED that this action and any pending motions are hereby
administratively terminated; and it is further
       ORDERED that this shall not constitute a dismissal Order under
the Federal Rules of Civil Procedure; and it is further
       ORDERED that within 60 days after entry of this Order (or
such additional period authorized by the Court), the parties shall
file all papers necessary to dismiss this action under Federal
Rule of Civil Procedure 41 or, if settlement cannot be consummated,
request that the action be reopened; and it is further
       ORDERED that, absent receipt from the parties of dismissal
papers or a request to reopen the action within the 60-day period,
the Court shall dismiss this action, without further notice, with
prejudice and without costs.

                                          s/MATTHEW J. SKAHILL_
                                                 U.S.M.J.
